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UNITED STATES DISTRICT COURT ly Ay £)
NORTHERN DISTRICT OF ILLINOIS Lee Mn, “4
EASTERN DIVISION tus tn, ~“@

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UNITED STATES OF AMERICA _ ae Figs lie,
Cog,
Vv. No. Bp
Violations: Title 18,

a/k/a “Pablo,” Sections 922(g)({1) and 924(c},
a/k/a “DeWayne Thornton” Title 21, United States Code,
Sections 84l(a)(1) and 860(a)

)

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}
DEJUAN THORNTON } United States Code,

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COUNT ONE

The SPECIAL APRIL 2002 GRAND JURY charges: JUDGE DARRAW
On or about February 25, 2002, at Chicago, 4UDGEDAREERern

District of Illinois, Eastern Division, aan

MAGISTRATE JUDGE DEN uw
DEJUAN THORNTON,

a/k/a “Pablo,”

a/k/a “DeWayne Thornton, ”
defendant herein, having previously been convicted of a crime
punishable by imprisonment for a term exceeding one year, did
knowingly possess a firearm, in and affecting interstate commerce
in that the firearm had traveled in interstate commerce
prior to defendant’s possession of the firearm, namely, a Bryco,
model 48, .380 caliber semiautomatic pistol, serial number
880479;

In violation of Title 18, United States Code, Section

922 (g) (1).

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COUNT TWO
The SPECIAL APRIL 2002 GRAND JURY further charges:
On or about February 25, 2002, at Chicago, in the Northern
District of Illinois, Eastern Division,
DEJUAN THORNTON,

a/k/a “Pablo,”

a/k/a “DeWayne Thornton, ”
defendant herein, did knowingly and intentionally possess with
intent to distribute a controlled substance, namely, in excess of

three grams of mixtures containing heroin, a Schedule I Narcotic
Drug Controlled Substance, in a housing facility owned by a
public housing authority, namely, Rockwell Gardens, a Chicago
Housing Authority housing facility located at 2450 West Monroe
Street, Chicago, Illinois;

In violation of Title 21, United States Code, Section

841(a)(1) and 860(a).
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COUNT TEREE

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The SPECIAL APRIL 20C2 GRAND JURY further charges:

Chicago, in the Northern

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On or about February 25, 2062, a
District of Illinois, Eastern Division,
DEJUAN THORNTON,

a/k/a “Pablo,”
a/k/a “DeWayne Thornton, ”

defendant herein, did use and carry a firearm, which is further

described in Count One of this indictment, during and in relation

to, and did possess in furtherance of, a drug trafficking crime

for which he may be prosecuted in a court of the United States,

namely, possession with intent to distribute heroin, as alleged

in Count Two of this indictment;

In violation of Title 18, United States Code, Section

924{(c)} (1).
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FORFEITURE ALLEGATION

The SPECIAL APRIL 2002 GRAND JURY further charges:

1, The ailegations contained in this indictment are
realieged and incorporated herein by reference for the purpose of
alleging forfeiture pursuant to Title 18, United Stacres Code,
Section 924(d)(1) and Title 28, United States Code, Section
2461(c).

2. As a result of his violation of Titie 18, United States
Code, Section 922(g)(1), as alleged in the foregoing indictment,
DEJUAN THORNTON,

a/k/a “Pablo,”

a/k/a “DeWayne Thornton, ”
defendant herein, shall forfeit to the United States, pursuant to
Title 18, United States Code, Section 924(d)(1) and Title 28,
United States Code, Section 2461(c), any and all right, title,
and interest he may have in any property involved in the charged
offense.

3. The interest of the defendant subject to forfeiture
pursuant to Title 18, United States Code, Section 924(da}(1) and
Title 28, United States Code, Section 2461(c¢) is one Bryco, model

48, .380 caliber semiautomatic pistol, serial number 880479 and

ammunition;
Case: 1:02-cr-00444 Document #: 1 Filed: 05/01/02 Page 5 of 6 PagelD #:5

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All pursuant to Title 18, United States Code, Section

924(d)(1) and Title 28, United States Code, Section 246l(c).

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UNITED SOATES APTORNEY

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